     Case 3:18-cv-00428-DMS-MDD Document 219 Filed 09/10/18 PageID.3431 Page 1 of 3



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16
                             UNITED STATES DISTRICT COURT
17
                           SOUTHERN DISTRICT OF CALIFORNIA
18
19
       Ms. L.,                                            Case No.: 3:18-CV-0428
20
                              Petitioner-Plaintiff,
21                                                        NOTICE OF WITHDRAWAL
       v.
22
       U.S. Immigration and Customs
23     Enforcement, et al.,
24                      Respondents-Defendants.
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     Case 3:18-cv-00428-DMS-MDD Document 219 Filed 09/10/18 PageID.3432 Page 2 of 3



1      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2             PLEASE TAKE NOTICE that the following attorney hereby withdraws his Pro
3      Hac Vice Application for amici curiae Scholars of Habeas Corpus and Constitutional
4      Law:
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13     DATED: September 10, 2018            WILMER CUTLER PICKERING
14                                          HALE & DORR LLP
15
16                                          By: /s/ Adriel I. Cepeda Derieux
17                                                Adriel I. Cepeda Derieux
18                                          Attorney for Amici Curiae Scholars
19                                          of Habeas Corpus and Constitutional Law
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     Case 3:18-cv-00428-DMS-MDD Document 219 Filed 09/10/18 PageID.3433 Page 3 of 3



1                                  CERTIFICATE OF SERVICE
2            I hereby certify that on September 10, 2018, a copy of the foregoing was filed via
3      the court’s CM/ECF system, which will send electronic notice to all counsel of record.
4
5                                            /s/ Chris Casamassima
6                                            Christopher T. Casamassima
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